EXHIBIT A
 (Budget)
TOP LINE
GRANITE                                           BUDGET
                                                APRIL 2022 - MAY 2022 - JUNE 2022 - JULY 2022




                                                     INCOME
                                                  APRIL                    MAY                  JUNE                  JULY
                   Income                   $         815,000.00    $         830,000.00   $       850,000.00     $     875,000.00
                                            S         815,000.00    $         830,000.00   $       850,000.00     $     875,000.00


                                                    EXPENSES
                                                   APRIL                   MAY                  JUNE                  JULY
                   Payroll Expenses         $         160,772.17    $        146,121.19    $       147,521.19     S      105,551.92
                   Subcontractor Expenses   $         293,500.00    $        236,300.00    $       236,300.00     $      236,300.00
                   Lease                    S          28,188.58    $         28,188.58    $        28,188.58     $       28,188.58
                   Senior Loans             S          31,520.99    $         31,520.99    s        31,520.99     s       34,004.99
                   Cost of Goods Sold       S         156,298.80    $        243,298.80    $       263,298.80     $      271,298.80
                   Other Expenses           S         144,484.46    $        143,884.46    S       140,534.46     S      137,867.76
                                            S         814,764.99    $        829,314.01    $       847,364.01     $      813,212.04


                                                     PROFIT
                                                   APRIL                   MAY                  JUNE                  JULY
                   Profit                   $              235.01   $            685.99    $           2,635.99   $       61,787.96
                                            $              235.01   S            685.99    $           2,635.99   S       61,787.96

Payroll Expenses
                                                  APRIL                    MAY                  JUNE                  JULY
                                            $        160,772.17     $        146,121.19    $       147,521.19     $      105,551.92
                     Payroll Expenses             $      160,772.17   $    146,121.19   $     147,521.19   $     105,551.92



Subcontractor Expenses
                                                      APRIL               MAY               JUNE               JULY
                                                  $      293,500.00   $    236,300.00   $     236,300.00   $     236,300.00


                     Subcontractor Expenses       $      293,500.00   $    236,300.00   $     236,300.00   $     236,300.00



Lease
                                                      APRIL               MAY               JUNE               JULY
                                                  S       28,188.58   $     28,188.58   $      28,188.58   $      28,188.58



                     Lease                        $       28,188.58   $     28,188.58   $      28,188.58   $      28,188.58



Senior Loans
                                                      APRIL               MAY               JUNE               JULY
                                                  S       31,520.99   $     31,520.99   S      31,520.99   $      34,004.99



                     Senior Loans                 $       31,520.99   $     31,520.99   $      31,520.99   $      34,004.99



Cost of Goods Sold


          Stone - Quartz & Porcelain                  APRIL               MAY               JUNE               JULY
                     Stone - Quartz & Porcelain   $       56,989.14   S    106,989.14   $     121,989.14   $     129,989.14



          Stone - Natural                             APRIL               MAY               JUNE               JULY
                     Stone - Natural              $       56,809.66   $     78,809.66   S      78,809.66   $      78,809.66



          Others                                      APRIL               MAY               JUNE               JULY
                     Others                       $       12,000.00   S     17,000.00   $      17,000.00   $          17,000.00
         Freight                                 APRIL                  MAY                  JUNE                  JULY
                      Freight                $       30,000.00      $     40,000.00      $      45,000.00      $      45,000.00



         Taxes                                   APRIL                  MAY                  JUNE                  JULY
                       Taxes                 $            500.00    $          500.00    $           500.00    $            500.00



                      Cost of Goods Sold     $      156,298.80      $    243,298.80      $     263,298.80      $     271,298.80




Other Expenses


         Alarm & Security                        APRIL                  MAY                  JUNE                  JULY
                      Alarm & Security       $             45.00    $           45.00    $            45.00    $             45.00

         Advertising                             APRIL                  MAY                  JUNE                  JULY
                      Advertising            $           7,070.00   $         3,570.00   $          1,570.00   $           1,570.00



         Bank Charges                            APRIL                  MAY                  JUNE                  JULY
                       Bank Charges          $           1,078.00   $         1,078.00   $          1,078.00   $           1,078.00



         Car Expenses                            APRIL                  MAY                  JUNE                  JULY
                       Car Expenses          $       18,750.00      $     18,750.00      $      18,750.00      $          18,750.00



         Dues & Subscription                     APRIL                  MAY                  JUNE                  JULY
                       Dues & Subscription   $            600.00    $          600.00    $           600.00    $            600.00



         Insurances                              APRIL                  MAY                  JUNE                  JULY
                       Insurances            $           8,504.76   $         8,504.76   $          8,504.76   $           8,504.76
Licenses and Permits                                        APRIL                  MAY                  JUNE                  JULY
            Licenses and Permits                       $                       $                    $                     $


Postage & Shipping                                          APRIL                  MAY                  JUNE                  JULY
            Postage & Shipping                         $             300.00    $          300.00    $           300.00    $           300.00



Snow Removal                                                APRIL                  MAY                  JUNE                  JULY
            Snow Removal                               $            2,700.00   $         2,700.00   $                     $


Professional Fees                                           APRIL                  MAY                  JUNE                  JULY
            Professional Fees                          $        37,500.00      $     37,400.00      $      40,400.00      $      40,400.00



Supplies                                                    APRIL                  MAY                  JUNE                  JULY
            Supplies                                   $        16,550.00      $     16,550.00      $      16,550.00      $      16,550.00



Repairs & Mintenance                                        APRIL                  MAY                  JUNE                  JULY
            Repairs & Mintenance                       $            8,000.00   $         8,000.00   $          8,000.00   $          8,000.00



Telephone                                                   APRIL                  MAY                  JUNE                  JULY
            Telephone                                  $            2,200.00   $         3,000.00   $          3,000.00   $          3,000.00



Business Travel & Customer Service Expenses                 APRIL                  MAY                  JUNE                  JULY
            Business Travel & Customer Service Expenset $       11,560.00      $     12,260.00      $      12,260.00      $      12,260.00



Equipment Rental                                            APRIL                  MAY                  JUNE                  JULY
            Equipment Rental                           $                       $                    $                     $
Showroom & Warehouse Rental                   APRIL                  MAY                  JUNE                  JULY
            Showroom & Warehouse Rental   $           5,200.00   $         5,200.00   $          5,200.00   $          5,200.00



Others                                        APRIL                  MAY                  JUNE                  JULY
            Others                        $       10,026.70      $     11,526.70      $      12,026.70      $          9,360.00



Utilities                                     APRIL                  MAY                  JUNE                  JULY
            Utilities                     $       14,400.00      $     14,400.00      $      12,250.00      $      12,250.00



            Other Expenses                $      144,484.46      $    143,884.46      $     140,534.46      $     137,867.76
